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a m 18- --c\/ 00662- A Documem 1 Filed 03/10/18 Page 1 of 40 §§;i,elbl)
o 101 1 FW 03111 “/
‘1‘ 11"" _ _ Au@\ozola,
AO 242 (Rev. 09/17) Petition foraWrit ofHabeas Corpus Under 28 U.S.C, § 2241 1 z 2_| p m lt
UNITED STATES DISTRICT Co UP<§£ERK, u.s. Dis`r"§}&`r"€mr
for the By
Dcnul_v

 

 

418"` C\J @@2 A

 

 

 

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%do 1 64 oec 1‘@11 MOW` vi
\/ | Petitioner \*/J ) / §~L/é, /£é D
§ Case No' (supplied by Clerk ofcour¢)
g \\ \/\]a\:\ \O©L;»V v\ §
Respa`zje n m

(name of warden or authorized person having custody of petitioner)

PETITION FOR A WRI'l` OF HABEAS CORPUS UNDER 28 U.S.C. § 2241

Personal Information

l. (a) Yourfullname: @@`O " &\)C‘)(/ _\/(C\W NAUGQM\

(b) Other names you have used:

 

 

2. Place of confinement

 

 

 

 

 

 

n y ,` `J{\ _§( n .1
(a) Name of institution: fi/U"(fc n '\' C’C> 3 3 ""\ \
(b) Address; l 00 "N L_ »< l\/\ A\€ STQEE’I’
(c) Your identification number: O°‘ OC\ q / 3 1
3. Are you currently being held on orders by:
ClFederal authorities \ lZi State authorities lZ{ Other - explain:
/ ._..
/`J L>S'¢\~€/ g
4. Are you currently:

EI A pretrial detainee (Waiting for trial on criminal charges)
[] Serving a sentence (incarceration, parole, probation, etc.) after having been convicted of a crime
If you are currently serving a sentence, provide:
(a) Name and location of court that sentenced you:

 

 

(b) Docket number of criminal case:

 

(c) Date of sentencing:
CIBeing held on an immigration charge x
zoth¢r (apzain): C,c>r\)r€x‘f\ pl/ §§ CUJr-l' ' (/(>ur:¥ vocé`:: rick
m 151/saxon 1 t\`>@> 310an 114 N\Ao\ex mrs ©"Y"»Eszr\)rs

 

 

 

Decision or Action You Are Challenging

5. What are you challenging in this petition:
ij How your sentence is being carried out, calculated, or credited by prison or parole authorities (for example,
revocation or calculation of good time credits)

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AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

 

MPretrial detention
EI Immigration detention
ij Detainer
QiThe validity of your conviction or sentence as imposed (for example, sentence beyond the statutory
maximum or improperly calculated under the sentencing guidelines)
dDisciplinary proceedings _
afOther (explain): n_ wm \/)(;cc¢/ ‘r\c> c o\d\c§ Cc é“DCD \/@/¢`~'\ \» Co»’}~\r@!\/’ V)i' 639
(,ovn- (,MM@\@/ w €~€> m van co\/)`»m ‘;y\ 1 }¢;\\ ~ />QPTE& §Q,ce>.x c
bind wc~:> “ cae>re,é, 1//01> Cc>w+ 7a icse; c>\\,
Provide more information abbut the decision or action you are challenging: l
(a) Name and lo ation of the agency or court: 7£\ fr q /;..L CO\; /) ~)»»") CDU r\-\/
" {*\1’\/)`1\/\0\,\ (;c>of-?\' § l `/
(b) Docket number, case nuinber; or opinion number: w d / 571 ¢/ ,é /£é 0 m
(C) DCClSiOI'l OI` acthIl yOIl are Chall€rlging Opor disciplinary proceedings, ryspecij§) the penalties imposed)I

QC’)!\-l»€/W;,'Dl\» Cb’§ Q@nf-\/ /, '///¢Lr»cgz'M/z~*-

 

 

 

 

 

 

(d) Date of the decision or action:

 

Your Earlier Challenges of the Decision or Action

First appeal
Did you appeal the decision, file a grievance, or seek an administrative remedy?
ElYes lZlNo
(a) If “Yes,” provide:
(l) Name of the authority, agency, or court:

 

 

(2) Date of filing:

(3) Dockct number, case number, or opinion number:
(4) Result:

(5) Date of result:
(6) Issues raised:

 

 

 

 

 

 

 

 

 

 

 

(b) If you answered “No,” explain Why you didn tappeal: indian 14 541 ¢,/_(_ 644/1 -7
171/fo -J/c am § f Oqacoré:“> f ' w&'>a .{-n fbi hi m 91 ve/

 

»¢l/\SZW! er §/uj,/>W) fJ/ due 11 no~m efi/~>€».r]é_~
Second appeal J r V

After the first appeal, did you file a second appeal to a higher authority, agency, or court?

DYes D’No

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AO 242 (Rev. 09/l7) Petition for a Writ of Habeas Coipus Under 28 U.S.C. § 2241

 

(a) lf “Yes,” provide:
(l) Name of the authority, agency, or court:

 

 

(2) Date of filing:

(3) Docket number, case number, or opinion number:
(4) Result:

(5) Date of result:

(6) Issues raised:

 

 

 

 

 

 

 

 

 

(b) If you answered “No,” explain why you did not tile a second appeal: §§ § £,/§7[/_ ¢Y/Ch /

 

 

9. Third appeal
After the second appeal, did you file a third appeal to a higher authority, agency, or court?
l:l Yes MNo

(a) If “Yes,” provide:
(l) Name of the authority, agency, or court1

 

(2) Date of iiling:

(3) Docket number, case number, or opinion number:
(4) Result:

(5) Date of result:

(6) Issues raised:

 

 

 

 

 

 

 

 

 

(b) If you answered “No,” explain Why you did not tile a third appeals

 

 

 

lO. Motion under 28 U.S.C. § 2255
In this petition, are you challenging the validity of your conviction or sentence as imposed?

¢Yes lj No

lf “Yes,” answer the following:

(a) H ve you already filed a motion under 28 U.S.C. § 2255 that challenged this conviction or sentence?
\%[es KNo

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AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

 

 

If Yes, provide: / .` s g A{ {c\(\
(l) Nameofcourt: COU/ljt"\ £3’;(\¢\\¥’\0“\ CO\J(`"<` NLMbQ/G_ §WL 6£[;/):1/
(2) Case number: / 570/§ / §§ g 725 ' §

 

 

(3) Date of tiling: "7 / / // ‘2~£> 23 an
(4) Resultf 3 ii A '\e; (a{-`~\' ~PW/ tamari/lo &wé fl£o‘?>&c,‘ 4a

 

 

 

(5) Date ofresult: ~/ ij»i»¥\ JU\H j "Q@`\§§/ w -l~<‘/~\ Y/»
(6) Issues raised: \)@l_i .-\~Osr\,\ f (§~/l £iY`Q//l;~€, ami/j brb md n 451/l [( i~i»lQl/‘<>
C@vtir€moi\/ 694 Cc>o\»»+ ,

 

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l/l/f\//ci!f§`- /

 

(b) Have you ever filed a motion in a United States Court of Appeals under 28 U.S.C. § 2244(b)(3)(A),
seeking permission to file a second or successive Section 2255 motion to challenge this conviction or
sentence?

CI Yes d No
lf “Yes,” provide:

(l) Name of court:

(2) Case number:

(3) Date of liling:

(4) Result:

(5) Date of result:

(6) Issues raised:

 

 

 

 

 

 

 

 

 

 

(c) Explain why the remedy under 28 U.S.C. § 2255 is inadequate or ineffective to challenge your
conviction or sentence: 717/vw / ,' m ,' .,L A\~/r) ..» n § ,

 

 

 

 

 

 

 

ll. Appeals of immigration proceedings
Does this case concern immigration proceedings?
l:l Yes ElNo
If “Yes,” provide:
(a) Date you were taken into immigration custody: v

 

(b) Date of the removal or reinstatement order:

 

(c) Did you file an appeal With the Board of Immigvration Appeals?
CI Yes El No

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AO 242 (Rev. 09/17) Petition for a Writ of Habeas Coxpus Under 28 U.S.C. § 2241

 

l2.

If “Yes,” provide:
(l) Date of filing:
(2) Case number:
(3) Result:

(4) Date of result:
(5) lssues raised:

 

 

 

 

 

 

 

(d) Did you appeal the decision to the United States Coult of Appeals?
ij Yes U No
If “Yes,” provide:
(l) Name of court:
(2) Date of filing:
(3) Case number:
(4) Result:
(5) Date of result:
(6) lssues raised:

 

 

 

 

 

 

 

 

 

 

 

 

Other appeals
Other than the appeals you listed above, have you filed any other petition, application, or motion about the issues
raised in this petition?

 

 

 

 

¢Yes l:|NO

If “Yes,” provide: ’ ' .

(a) Kind of petition, motion, or application: y 51 b €:\) 3 C/O rio if §

(b) Name of the authoriz’ agem`*¥’ Or court 7&)//0\1/¥" c 6 i/»~’W""" "/) g r/"’W,/:.K_W//"& f
‘ ®‘o.f` ’ 10 /

(c) Date o?iiling: /[ ' 1 \ ' 1 g

(d) Docket number, case number, or opinion number: / § L/ 55 / tc 0

 

(e) Result: / c/'] /U@ JZ ED
(f) Date of result:
(g) Issues raised:

 

 

 

 

 

 

 

 

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AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

 

Grounds for Your Challenge in This Petition

13. State every ground (reason) that supports your claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the
facts supporting each ground. Any legal arguments must be submitted in a separate memorandum

 

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302111\~ sum 111/3110 1141/11 er e>¢e:; 2c . 106 /111§11
’>`+a~)}e/ ,_
(a) SuppOI'flI]g facts (Be brief Do not cite cases or law. ). `.
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v ' /

 

 

 

 

 

(b) Did you present Ground Gne in all appeals that were available to you?
ij Yes No

GROUNI) Two: U@/] /(»cv:) FL)/My L@/C]' .z)r~ /GW“LCM/J/ 615

[)£Wf'i’ CHW51C/

 

 

 

(a) SuppOrtlI!g facts (Be brief Do not cite cases or law. )I

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(/\//"H)O‘.J-P guy/17 '/~;)f>€ _/)15_ //()/1,/`1/1/1/\:) @f f`é¢;é@v

(b) Did you present Ground Two m all appeals that were available to you?
13 Yes QNO

GRoUNI) THREE; /UO bO/)c[ 5 €/! go 1/ 510 6/€1€>§ §
yW;§A@/M/{{»~-’> 0{' _,

 

 

 

 

(a) SuppOI‘tlIlg facts (Be brief Do not cite cases or law )

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11111111, ;@4`§1@, 316 11 /1;,1:7£,¢ 1111 521 1,@,;25;§ ,¢;1, ;..

(b) Did you present Ground Three in all appeals that Were available to you?
13 Yes ?No

 

 

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AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

GRoUNl) FoUR; (j n rg/¢Son ab las 1211 1/1/\ 661/10 i-Lio v\€

 

 

 

 

 

(a) SUppO!’ting faCtS (Be brief Do not cite cases or law )

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@i/e/v\ /Vi .}Le. &b§enc<, 1215 -/»5<’/ 'VM/ee¢§e)na~/;/; SO"IC/

(b) Did you present Ground Four in all appeals that were available to you? don di `~/'»/6//1 § 7
N_Yes Cl No
14. If there are any grounds that you did not present in all appeals that were available to you, explain why you did

not: jUé @\<’/ €Q-Cd§dé 46 {/"W`\ §\/U@/F` _ QVL">,L\G~/\S § digii_£,:¢qh/)wz
1101th 1111 1111 §~1111111 1111/11 1 1150 11;7 1

 

 

Request for Relief
15. State exactly what youwant the court to do: ,Q€C,€_)§:z/ 7;£@ { t/,//€ /7"}/ ¥TUA 01 §

 

C"`l’\”"\ l/\)€/Q_..K$ 11 ge /@¢'1 S¢_ gao 010 //20‘1!,011 61 191/§

 

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AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

 

Declaration Under Penalty Of Perjury

If you are incarcerated, on what date did you place this petition in the prison mail system:

 

l declare under penalty of perjury that l am the petitioner, l have read this petition or had it read to me, and the
information in this petition is true and correct. I understand that a false statement of a material fact may serve as the basis
for prosecution for perjury.

' , l 6 { g M
Date! QS_O<_-]__Q %r: of Petztloner
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Sl` alureo Attorn or other authorized ers§n, z an
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l
IN THE TARANT COUNTY COURT
IN AND FOR THE STATE OF TEXAS
Name: State of Texas Case NO`: 154 6160
Notice Of:
P : Pl ` t`ff
atty am 1 Right To Jury 'l`rial
VS- Right To Be Sentenced By Jury
Name: Bao Nguyen JURY DEMAND
Party: Defendant
Memorandum of Law:
Judicial Notice is hereby given of the following authorities in this matter:
i) United States Constitution, in its entirety, and in particular, Amendments I, II, IV, V, VI,
VIII, IX, and XIV;
ii) Texas Constitution, in its entirety, and in particular Article I, §§ 8, lO, 12, 13, 15, 22, 23,
27;
iii) Volume I, United States Code, Declaration of lndependence;
iv) 42 U.S.C. § 1983;
v) 18 U.SC. §§ 241, 242;
vi) Faretta v. California, (422 U.S. 806, (U.S. Supreme Court, 1975)).
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U.S. Constitution Amendment VI States:

ln all criminal prosecutions, the accused shall enjoy the right to a speedy and public trial, by
an impartial jury of the State and district wherein the crime shall have been committed,
which district shall have been previously ascertained by law, and to be informed of the
nature and cause of the accusation; to be confronted with the witnesses against him; to have
compulsory process for obtaining witnesses in his favor, and to have the Assistance of

Counsel for his defence.

Texas Constitution Article l States:

Sec. 2. INHERENT POLITICAL POWER; REPUBLICAN FORM GF GOVERNMENT.
All political power is inherent in the people, and all free governments are founded on their
authority, and instituted for their benefit The faith of the people of Texas stands pledged to
the preservation of a republican form of government, and, subject to this limitation only,
they have at all times the inalienable right to alter, reform or abolish their government in

such manner as they may think expedient

Sec. 10. RIGHTS OF ACCUSED IN CRIMINAL PROSECUTIONS. In all criminal
prosecutions the accused shall have a speedy public trial by an impartial jury. He shall have
the right to demand the nature and cause of the accusation against him, and to have a copy
thereof. He shall not be compelled to give evidence against himself, and shall have the right
of being heard by himself or counsel, or both, shall be confronted by the Witnesses against
him and shall have compulsory process for obtaining witnesses in his favor, except that
when the witness resides out of the State and the offense charged is a violation of any of the
anti-trust laws of this State, the defendant and the State shall have the right to produce and
have the evidence admitted by deposition, under such rules and laws as the Legislature may
hereafter provide; and no person shall be held to answer for a criminal offense, unless on an
indictment of a grand jury, except in cases in which the punishment is by fine or

imprisonment, otherwise than in the penitentiary, in cases of impeachment, and in cases

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Case 4:18-cV-00662-A Document 1 Filed 08/10/18 Page 11 of 40 Page|D 11

1 arising in the army or navy, or in the militia, when in actual service in time of war or public

danger.

Sec. 15. RIGHT OF TRIAL BY JURY. The right of trial by jury shall remain inviolate.
The Legislature shall pass such laws as may be needed to regulate the same, and to maintain
its purity and efficiency Provided, that the Legislature may provide for the temporary
commitment, for observation and/or treatment, of mentally ill persons not charged with a
criminal offense, for a period of time not to exceed ninety (90) days7 by order of the County

Court without the necessity of a trial by jury.

At all times imposition of judgment is an act of Political Power. Article I Section 2 of the
Texas Constitution clearly states that political power is inherent in “The People” regardless
how the term “The People” is construed it is always plural and is never a single person,
much less one acting as petty Judicial Officer sitting as a Judge in a Court of Limited
Jurisdiction. The Political Power held by the People is the State's Sovereignty, in se. For any
individual to claim to unilaterally possess the authority of the Sovereign constitutes a claim
of “Sovereign Citizenship”, that is, an individual Citizen, by occupation of some public
office, unilaterally possesses, and may unilaterally exercise the Political Power described in

Article I, Section 2 of the Texas State Constitution.

Any claim of such “Sovereign Citizenship” by the Judge sitting in this matter, and any
attempt by that person to order any other officer to impose that claim upon any other person,
by any means, and any assistance by any other state officer to do so constitutes an attempt to
alter or destroy the Constitutional Form of Government of The State of Texas and its

Political Subdivisions, and is sedition in violation of Texas Penal Code 557.001(1).

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1 For the foregoing reasons then, Defendant gives this Court Judicial Notice that he has a
Right to a Jury in this matter to decide each and every element of Fact and Law in this
matter, including but not limited to any matters imposing Judgment, and does hereby

demand a Jury Therefor.

Submitted to the Court by Defendant, This / 0 f/¢L‘j ij /¢45%5 # , 20 { /))

\,
Baoq@W,/SHM, Pm Se_

CID# 09()9413

 

Lon Evans Detention Facility,

Tarant County Texas.

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lN THE TARANT COUNTY COURT
fN AND FOR THE STATE OF TEXAS

Name: State of Texas Case NO': 154 6160

INTERROGATORY UPON DARLA
Party: Plaintiff PEEVEY

VS.

Name; Bao Nguyen

Party: Defendant

Memorandum of Law;

Judicial Notice is hereby given of the following authorities in this matter:

i) United States Constitution, in its entirety, and in particular, Arnendments l, II, IV, V,, VI,
VIII, IX, and XlV;

ii) Texas Constitution, in its entirety, and in particular Article I, §§ 8, l(), 12, 13, 15, 22, 23,
27;

iii) Volume I, United States Code, Declaration of lndependence;

iv) 42 U.S.C. § 1983;

v) 18 U.SC. §§ 241, 242;

vi) Faretta V. California, (422 U.S. 806, (U.S. Supreme Court, 1975)).

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1 Notice:
This lnterrogatory shall operate as a Subpoena pursuant to Texas Code of Criminal
Procedure, Chapter 24, whether asked in Deposition, Direct Examination or Cross-

Examination.

Pu:rs'uant To Texas Code of Criminal Procedure Art. 24.0l(a)(l), 24.0l(a)(2)(A),
24.01 (a)(Z)(E):

YOU, Darla Peevey are HEREBY COMMANDED to face the Jury or Record, either at trial
in this matter, whether being directly examined or cross-examined, or at any pre-trial

Deposition or Hearing in this matter, and answer the following questions:

l) Are you a “bitch”?

2) Are you a “cunt”?

3) Have you ever been a “bitch”?

4) Have you ever been a “cunt”?

5) Have you ever called any other person a “bitch”‘?

6) Have you ever called any other person a “cunt”?

7) State for the Record the name of each and every person you claim called you a
“bitch”.

8) State for the Record the name of each and every person you claim called you a “cunt”.
9) State for the Record why you believe you should not be called a “bitch”.

lO) State for the Record Why you believe you should not be called a “cunt”.

ll) State for the Record what a “bitch” is.

l2) State for the Record what a “cunt” is.

13) State for the Record why you claim being called a “bitch” is “offensive” or “abusive”
l4) State for the Record why you claim being called a “cunt” is “offensive” or “abusive”.

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This Interrogatory is Issued Directly By Defendant, upon witness and complaining parry,

Darla Peevey, pursuant to Texas Code of Criminal Procedure Art. 24.0l(d), and shall be

served by being read Pursuant to 'l`exas Code of Criminal Procedure Art 24.04(a)(1), in

whatever Trial or Hearing Darla Peevey appears to testify against Defendant in this matter.

Su`brnitted to the Court by Defendant, This _LU /{75;, , L»,;»j /¢K>V\“;L
`j .

Baoq\éc/N§yen, Defendant, Pro Se.

CID# 0909413
Lon Evans Detention Facility,

Tarant County Texas.

Certificate of Delivery and Service:

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by:

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IN THE TARANT COUNTY COURT
IN AND FOR THE STATE OF TEXAS

Name: State of Texas Case NO': 154 6160

( ) Motion For:
Party: Plaintiff

vs.
(X) Notice Of:

Name:Bao uocN en
q guy Intervening State And Federal

Law :

Party: Defendant
( ) Proposed Order:

Memorandum of Law:
l) This Court is hereby given Judicial Notice of the Following United States, and Texas

State Law:

i) United States Constitution, in its entirety, and in particular, Amendments I, II, IV, V, VI,
VIII, IX, and XIV;

ii) Texas Constitution, in its entirety, and in particular Article I, §§ 8, 10, 12, 13, 15, 22, 23,
27;

iii) Volume I, United States Code, Declaration of Independence;

iv) 42 U.S.C. § 1983;

v) 18 U.SC. §§ 241, 242;

vi) Faretta v. California, (422 U.S. 806, (U.S. Supreme Court, 1975)).

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Facts:
2) The Laws stated supra exist and supersede any claims of criminal conduct by opposing
party.
3) The Laws stated supra protect Defendant's Rights to Liberty, Privacy, and Property,
His Right To Be Let Alone, and To Be Free From Crime Being Committed Against Him,
and His Rights To Due Process, and To Be Free From Malicious Prosecution.
4) Violations of these Rights by State Offrcers acting under Color of Official Right are

Civil Torts and Crimes under Federal law.

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Notice:
5) This Court is given Judicial Notice that the aforementioned United States and Texas
State Law applies to all persons, parties, and proceedings in this matter, at all times
including but not limited to:
i) Arrest,
ii) Charge,
iii) Arraignment,
iv) Pre-Trial Hearings, (or absence thereof),
v) Assistance of Counsel (or denial thereof),
vi) lndividual's Right to Self-Representation, (and any obstruction to the exercise thereot),
vii) Trial,
viii) Pleas and Plea Agreements,
ix) Sentencing,
x) Appeal and Post Conviction Relief,
and that as such any violation of the laws stated, by any person, party or proceeding against
Defendant in this matter, is a Fundamental Error warranting Dispositive Action, sua-sponte,

by both the Trial Court, and Opposing Party, and by any Court hereafter

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Submitted to the Court by Defendant, This l'() da j ap Aacmgf'
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Bao oc Nguyeri, Defendant, Pro Se.
C_,/
CID# 0909413

Lon Evans Detention Facility,

Tarant County Texas.
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IN THE TARANT COUNTY COURT
IN AND FOR THE STATE OF TEXAS
Name; State of Texas Case NO‘: 154 6160
(X) Motion For:
P : Pl ` t`ff
any am 1 Summary Dismissal With Prejudice
vs.
Name: Baoquoc Nguyen (X) Notice Of: Hearing
Party: Defendant
() Proposed Order:
Memorandum of Law:
Judicial Notice is hereby given of the following authorities in this matter:
i) United States Constitution, in its entirety, and in particular, Amendments I, II, IV, V, Vl,
VIII, IX, and XIV;
ii) Texas Constitution, in its entirety, and in particular Article I, §§ 8, lO, 12, 13, 15, 22, 23,
27;
iii) Volume l, United States Code, Declaration of lndependence;
iv) 42 U.S.C. § 1983;
v) 18 U.SC. §§ 241, 242;
vi) Faretta v. California, (422 U.S. 806, (U.S. Supreme Court, 1975)).
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1 Facts:
Defendant in this matter, Mr. Baoquoc Nguyen, has been accused of a crime in this matter

for conduct alleged to have been committed by others.

The conduct alleged as acti rei is entirely Lawful Activity, the commission of Which is
protected by the authorities cited in Paragraph l, supra, namely the United States

Constitution, the Constitution of The State of Texas, and Federal Law.

Constitutionally protected activity is both an Absolute Imr'nunity and Affirmative Defense to

charges of violating Texas Penal Code 42.07, or any subsection or subsections thereof.

 

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1 Grounds F or Relief:

I) This Motion incorporates and restates Defendant's separate Motion To Strike as Grounds

for granting This Motion.

ll) F ailure To State A Prima Facie case against Defendant:

The Relevant portion of the Arrest Warrant Affidavit states:

 

And:

 

According to the Charging Document, Defendant instructed some imaginary group of

persons to call the location he was being arrested. The facts alleged indicate Defendant was
not located anywhere near Darla Peevey, nor her place of business at the time he was

arrested

The Charging Document fails to make any factual or evidentiary claim whatsoever that any

“YouTube” live stream, whatever that may be, Was taking place anywhere

The Charging document fails to make any factual or evidentiary claim whatsoever that any

person anywhere is or was viewing anything, “live”, “YouTube” or otherwise

The Charging document fails to make any factual or evidentiary claim whatsoever that any

viewer of anything anywhere did “post” anything, or call anybody.
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The Charging Document clearly states that the “instruction”, (not order), that Defendant

gave was for others to call him. (N ot Peevey).

All persons are free to call Darla Peevey a “bitch”. To Wit:

“The term bitch is an opprobrious name for a woman, especially a lewd Woman. lt has not
been thought to imply want of chastity nor to mean prostitute. lt is generally held not to be
libelous per se to call a woman a 'bitch"‘. (Schurrick v. Coleman, 50 lnd. 336; Craig v Pyles
39 S.W. 33; Blake v. Smith, 34 A. 995; Craver vNorton, 86 N.W. 54; Shields v. State, 16
S.E. 66; Roby v. Murphy, 27 lll. App. 394; McMahon v. Hallock, l N.Y.S. 312; Nealon v.
Frisbie, 31 N.Y.S. 856).

All persons are free to call Darla Peevey a cunt. The charging statute does not prohibit any

person from calling Darla Peevey a “cunt”.

Nothing in the Arrest Warrant Affidavit alleges that calling Darla Peevey a “cunt” resulted

in any kind of criminal consequences nor criminal injury to any party.

The Arrest Warrant Affidavit fails to allege that any person calling Darla Peevey a “cunt”

constitutes any kind of crime.

The Charging Document fails to state with specificity each and every element of the offense
charged, and with specificity which sections of TPC 42.07 Defendant is charged with
violating Opposing Party's claim appears to be a “shotgun pleading” attempting to charge
the entirety of Texas Penal Code 42.07(a) against Defendant The facts alleged clearly
indicate that no contact whatsoever was made by Defendant with complainant Darla Peevey.
Texas Penal Code 42.07(a)(l) applies to direct personal contact Section 42.07(a)(4) means

that a person caused a telephone to ring repeatedly by some automated mechanism, or that

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1 they individually called that telephone multiple times, not that other people responded to any
request to ca11 a particular person. The facts alleged indicate that the “electronic
communications” were all supposedly telephone calls, and that all those “electronic

communications” were NOT made by Defendant

The Charging Document fails to make any kind of prima facie showing of criminal intent as
required by 42.07(a), and as such is void on its face. The alleged utterance made by
Defendant, “call up here” conveys no request to any party that they harass, annoy, alarm,

abuse, torment, or embarrass any other party.

Per TPC 42.07(b)(3), "Obscene" means: “containing a patently offensive description of or a
solicitation to commit an ultimate sex act, including sexual intercourse, masturbation,

cunnilingus, fellatio, or anilingus, or a description of an excretory function”.

With regard 42.07(a)(1), while any sexual act with Darla Peevey might be obscene in se, as
might be any description thereof, the Arrest Warrant Affidavit clearly indicates that no
solicitation thereto was made by Defendant, nor was any description thereof given by

Defendant The facts alleged clearly indicate the following:

i) No party solicited nor described sexual intercourse with Darla Peevey, (Repugnant though
such may be);

ii) No party described Darla Peevey masturbating, nor did any party solicit her to do so
unilaterally, nor for her to masturbate any other party or parties;

iii) No party described licking Darla Peevey's vagina (nauseating though it might be), nor
did any party solicit her to allow them to do so. (Likewise unimagineable);

iv) No party described any contact whatsoever between any Penis, or Penes, and Darla

 

28 Peevey's mouth, nor did any party solicit Darla Peevey for the performance of such an act;

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1 v) No party did lick, nor suggest the licking of Darla Peevey's anus, nor did any party
describe nor solicit the licking of any anus by Darla Peevey;

vi) No party did urinate, defecate, nor expectorate upon Darla Peevey, nor describe any such
act, nor solicit any party to urinate, defecate, nor expectorate upon Darla Peevey, nor did any

party solicit Darla Peevey to do so upon them.

The Charging Document further states:

 

Nothing in TPC 42.07 states that any finding by Darla Peevey, (qualitative or otherwise),
constitutes gravamen of offense, nor probable cause to charge any person with any crime. lt
is wholly irrelevant how Darla Peevey “finds” any word itself, and it is wholly irrelevant
how Darla Peevey “finds” any word being used. Sirnply put, just because Darla Peevey
found something to be something or other, does not mean anybody else committed any

crime.

The Charging Statute reads that a person must commit a `combination, of all of TPC 42.07
Subsections (a)(l) _ (a)(6) together, or alternately a violation of the singular Subsection
42.07(a)(7). Nothing in the Charging Document alleges that Defendant committed any
violation of TPC 42.07(a) Subsection (2), (3), (5) or (6).

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IV) Unconstitutionality of Charging Statute:

Texas Penal Code 42.07 is unconstitutional on its face or as-applied in the lnstant Case

because:

The statute defendant is charged with violating fails to either state nor accomplish any

compelling governmental objective

Any presumptive compelling governmental objective for the Charging Statute in this matter

can be achieved by less violative means than those applied in the instant case.

Enforcing the Charging Statute as it has been in this matter has a “chilling effect” on all
persons engaged in the Constitutionally Protected Activity described in the Arrest Warrant
Affidavit, including those beyond the lawful jurisdiction of The State of Texas. Because of
the prosecution of Defendant by this matter, that “chilling effect” is being and will continue
to be perpetrated across state lines, by officers of trust and for-profit of the State of Texas,
acting both individually, and in their Official Capacity, under color of official right, and in

violation of the Federal Laws cited supra.

lf` it is opposing party’s contention that the language of Texas Penal Code 42.07 is such that
singularly committing any of the acts proscribed by subsections (a)(l) ~ (a)(7), constitutes a
Public offense, then that statute is void for its vagueness, as it can just as easily be read as
requiring a combination of acts in violation of all of subsections (a)(l) _ (a)(6) together, or

alternately a violation of the single subsection (a)(7).

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1 V) Lack of Jurisdiction:

This Court is a Court of Limited Jurisdiction. lt is not a Court of Record. This Court acts as
a Trier of Fact, and only facts may be tried herein, not the law. Constitutionally Protected
Activity is absolutely immune from being charged as any violation of Texas Penal Code
42.07. That the alleged criminal conduct engaged in is and was Constitutionally Protected is
an Affirmative Defense. Because such a Defense necessitates a trial on both the facial
Constitutionality of the Charging Statute, and its Constitutionality as applied in the lnstant
Case, this Forum is improper, and this case must be summarily dismissed for This Court's
lack of Subj ect Matter Jurisdiction to hear and decide Defendant's Affirmative Defense. This
Court is likewise devoid of Jurisdiction to rule on Dispositive Motions based in
Constitutional Claims. Being unable to avail to Defendant these Gpportunities to Defend,
this Forum cannot afford Defendant Due Process, and this matter must be dismissed, sua-

sponte, as this Court is an improper venue to bring the claim.

This Court has “no more right to decline the exercise of jurisdiction which is given, than
to usurp that which is not given. The one or the other would be treason to the

constitution.” (Cohens v. Virginia, 6 Wheat. 264. (U. S. Supreme Court , 1821) )
Vl) De Minimis / Availability of Other Remedy:

When females behave as Darla Peevey does, or have the character and personality of Darla
Peevey, it is perfectly ordinary behavior for Men to call such a woman a “bitch” or a “cunt”.
lt is likewise perfectly ordinary female behavior for a female to call another female a “bitch”
or a “cunt”, for any number of reasons. (And they can likewise be considered subject matter
experts on the question, as well). As such, perfectly ordinary behavior engaged in by all

persons cannot be considered any kind of Public offense. Further, upon interrogatory, if it is

 

28 shown that Darla Peevey has ever called any person a “bitch” or a “cunt”, she cannot then

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1 sustain any claim that such words are harassing, annoying, alarrning, abusive, tormentous,
nor embarrassing to her. lf Darla Peevey claims that she has never called anyone a “bitch” or

a “cunt”, she is most certainly lying.

Nothing in being called a “bitch” or a “cunt” precludes Darla Peevey from pursuing Civil

Actions against those persons who allegedly did so.

There is no penalty for truth. As with Libel and Slander allegations, Truth is an absolute
defense to the charge alleged, “harassment”. To Wit: lf it can be shown by her conduct
attendant to this matter, that Darla Peevey is in fact a “bitch” or is in fact a “cunt”, then no
claim by any party of her being such, nor any calling of her thus, by any party constitutes

any kind of harassment

Conclusion:
ln short, Darla Peevey became “annoyed” because people do not like her. No one is required
to like Darla Peevey. Not liking Darla Peevey is not any kind of crime. Expressing that
dislike of Darla Peevey to Darla Peevey does not constitute any kind of crime. Nothing in
Darla Peevey's self-importance imbues any kind of criminality upon others for their failure

to pay tribute thereto.

Notice Of Hearing:
Defendant hereby notifies opposing party that This Motion To Dismiss shall be heard on the
date of Trial, or at the next pre-trial hearing in this matter, after Opposing Party had received

proper service of this Motion.

 

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Submitted to the Court by Defendant, This /@#` g/a:j

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Wguye Defendant, Pro Se.

CID# 0909413
Lon Evans Detention Facility,

Tarant County Texas.

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lN THE TARANT COUNTY COURT
IN AND FOR THE STATE OF TEXAS

Name: State of Texas Case NO': 154 6160

Memorandum of Law
Party: Plaintiff

VS.

Name: Baoquoc Nguyen

Party: Defendant

Memorandum of Law:
This Court is hereby given Judicial Notice of the Following points and authorities in this

matter:

l) Pro-Se Pleadings:

Pro Se litigants are “held to a less stringent standard”. (Haines v. Kerner, 404 U.S. 519,
(1972); White v. Bloom, 621 F.2d 276; Cruz v. Beto, 405 U.S. 319, (1972); Boag v.
MacDougall, 454 U.S. 364, (1982); Estelle v. Gamble, 429 U.S. 97, (1976); Conley v.
Gibson, 355 U.S. 41, (1957); McDowell v. Delaware State Police, 88 F.3d 188; United
States v. Day, 969 F.2d 39, 42 (3rd Cir. 1992); Then v. l.N.S., 58 F.Supp. 2d 422, (D.N.J.
1999); S.E.C. v. Elliott, 953 F.2d 1560 (l lth Cir. 1992); United States v. Miller, 197 F.3d
644, (3rd Cir. 1999); Poling v. K. Hovnanian Enterprises, 99 F.Supp. 2D 502 (D.N.J. 2000);
Vega v. Johnson, 149 F.3d 354 (5th Cir. 1998); U.S. v. Sanchez, 88 F.3d 1243 (D.C.Cir.

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1 1996); Bonner v. Circuit Court of St. Louis, 526 F.2d 1331 (8th Cir. 1975); Bramlet v.
Wilson, 495 F.2d 714 (8th Cir. 1974)).

ll ) Trial On The Merits:

“A court should proceed with the understanding that it is preferable to decide cases on their
merits rather than on procedural grounds”. (Bugoni v. C & M Towing, 10th Dist. Franklin
No. 12AP-62, 2012-Ohio-4508, 11 5, cited in First Union-Lehman Bros.-Bank of Am.
Commercial Mtge. Trust v. Pillar Real Estate Advisors, Inc., 2014-Ohio-l 105. 11 15).

lll) Unconstitutionality of State Statutes:
Marbury v. Madison, 1 Cranch 137, (1803),
Norton v. Shelby County, 118 U.S. 425, (1886).

 

Submitted to the Court by Defendant, This /© pfa/q 01 /ié!u 515/9 , 20 ( g
pp
Bao@en, Defendant, Pro Se.

CID# 090941 3

 

Lon Evans Detention Facility,

Tarant County Texas.

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Case 4:18-cV-00662-A Document 1 Filed 08/10/18 Page 33 of 40 Page|D 33

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IN THE TARANT COUNTY COURT
lN AND FOR THE STATE OF TEXAS

Name: State of Texas Case NO': 154 6160

( ) Motion For:
Party: Plaintiff

vs.
(X) Notice Of:

Name: Bao Nguyen
Appearance Pro Se

Party: Defendant ( ) Proposed Order:

Memorandum of Law:

1) Judicial Notice is hereby given of the following authorities in this matter:

i) United States Constitution, in its entirety, and in particular, Amendments l, II, lV, V, Vl,
Vlll, lX, and XIV;

ii) Texas Constitution, in its entirety, and in particular Article I, §§ 8, 10, 12, 13, 15, 22, 23,
27;

iii) Volume l, United States Code, Declaration of lndependence;

iv) 42 U.S.C. § 1983;

v) 18 U.SC. §§ 241, 242;

vi) Faretta v. California, (422 U.S. 806, (U.S. Supreme Court, 1975)).

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1 Facts:
2) Defendant in this matter, Mr. Bao Nguyen, defends this matter unilaterally Pro - Se,

and hereby gives this Court Notice of that Fact.

3) Defendant in this matter, Mr. Bao Nguyen, has a Constitutionally Protected Right To
Defend Pro Se in this matter, and hereby gives this Court notice-of his exercising that Right,

unilaterally

4) Any obstruction, or attempt to obstruct Defendant in the Free Exercise of that Right,
or to deny him the Enjoyment of that Right is a crime under Federal Law, and fundamental

Constitutional inhrmity in this matter,

 

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Notice:
5) This Court is given Notice Defendant, Bao Nguyen hereby Appears and Defends this
matter Pro Se, unilaterally, and that any Counsel, Representation, or Assistance made by any

other party is solely for the purpose of assisting Defendant in defending his Case Pro Se.

 

 

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Case 4:18-cV-00662-A Document 1 Filed 08/10/18 Page 37 of 40 Page|D 37

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Submitted to the Court by Defendant, This /QM (/@:/,

 

 

ClD# 0909413

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IN THE TARANT COUNTY COURT
lN AND FOR THE STATE OF TEXAS

Name: State of Texas Case NO': 154 6160

Motion:
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my am ‘ To sTRIKE IRRELEVANT,
rMPERTINENT, AND scANI)ALoUs
vs. MATTER

Name: Baoquoc Nguyen

Party: Defendant

Memorandum of Law:

Judicial Notice is hereby given of the following authorities in this matter:

i) United States Constitution, in its entirety, and in particular, Amendments I, ll, lV, V, VI,
Vlll, IX, and XlV;

ii) Texas Constitution, in its entirety, and in particular Article l, §§ 8, 10, 12, 13, 15, 22, 23,
27; l

iii) Volume l, United States Code, Declaration of lndependence;

iv) 42 U.S.C. § 1983;

v) 18 U.SC. §§ 241, 242;

vi) Faretta v. California, (422 U.S. 806, (U.S. Supreme Court, 1975)).

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1 Defendant moves to strike the following portions of opposing party's Arrest Warrant

Affidavit as irrelevant, impertinent, or scandalous:

Page 1 Paragraphs 1, 4, 5
Page 2 Paragraphs 1, 2, 4, 5, 6, 7
Page 3, All.

Notice Of Hearing:
Defendant hereby notifies opposing party that This Motion To Dismiss shall be heard on the
date of Trial, or at the next pre-trial hearing in this matter, after Opposing Party had received

proper service of this Motion.

Submitted to the Court by Defendant, This [OL< day .»>7/ /¢:<)L¢Sr// , 20 l g .

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BC\QQY_€.I\/laur€’ri, DeMPrO Se.

CID# 0909413
Lon Evans Detention Facility,

Tarant County Texas.

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